Case 3:11-cv-00911-HES-JK Document 27 Filed 03/11/15 Page 1 of 18 PageID 99
Case 3:11-cv-00911-HES-JK Document 27 Filed 03/11/15 Page 2 of 18 PageID 100
Case 3:11-cv-00911-HES-JK Document 27 Filed 03/11/15 Page 3 of 18 PageID 101
Case 3:11-cv-00911-HES-JK Document 27 Filed 03/11/15 Page 4 of 18 PageID 102
Case 3:11-cv-00911-HES-JK Document 27 Filed 03/11/15 Page 5 of 18 PageID 103
Case 3:11-cv-00911-HES-JK Document 27 Filed 03/11/15 Page 6 of 18 PageID 104
Case 3:11-cv-00911-HES-JK Document 27 Filed 03/11/15 Page 7 of 18 PageID 105
Case 3:11-cv-00911-HES-JK Document 27 Filed 03/11/15 Page 8 of 18 PageID 106
Case 3:11-cv-00911-HES-JK Document 27 Filed 03/11/15 Page 9 of 18 PageID 107
Case 3:11-cv-00911-HES-JK Document 27 Filed 03/11/15 Page 10 of 18 PageID 108
Case 3:11-cv-00911-HES-JK Document 27 Filed 03/11/15 Page 11 of 18 PageID 109
Case 3:11-cv-00911-HES-JK Document 27 Filed 03/11/15 Page 12 of 18 PageID 110
Case 3:11-cv-00911-HES-JK Document 27 Filed 03/11/15 Page 13 of 18 PageID 111
Case 3:11-cv-00911-HES-JK Document 27 Filed 03/11/15 Page 14 of 18 PageID 112
Case 3:11-cv-00911-HES-JK Document 27 Filed 03/11/15 Page 15 of 18 PageID 113
Case 3:11-cv-00911-HES-JK Document 27 Filed 03/11/15 Page 16 of 18 PageID 114
Case 3:11-cv-00911-HES-JK Document 27 Filed 03/11/15 Page 17 of 18 PageID 115
Case 3:11-cv-00911-HES-JK Document 27 Filed 03/11/15 Page 18 of 18 PageID 116
